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                                    UNITED STATES BANKRUPTCY COURT
                                     FOR THE DISTRICT OF DELAWARE

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                                                             :          Chapter 11
In re:                                                       :
                                                             :          Case No. 09-10138 (KG)
Nortel Networks Inc., et al.,1                               :
                                                             :          Jointly Administered
                                          Debtors.           :
                                                             :          Objections due: October 19, 2012 @ 4:00 p.m.
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 NOTICE OF TWELFTH MONTHLY APPLICATION OF MCCARTER & ENGLISH,
LLP FOR COMPENSATION FOR SERVICES RENDERED AND REIMBURSEMENT
OF EXPENSES AS COUNSEL TO THE OFFICIAL COMMITTEE OF RETIREES FOR
         THE PERIOD AUGUST 1, 2012 THROUGH AUGUST 31, 2012

TO ALL PARTIES ON THE ATTACHED SERVICE LIST:

       Attached hereto is the Twelfth Monthly Application of McCarter & English LLP, As
Counsel to The Official Committee of Retirees (the “Retiree Committee”), For Allowance Of
Interim Compensation And For Interim Reimbursement Of All Actual And Necessary
Expenses Incurred For The Period August 1, 2012 Through August 31, 2012 (the
"Application").

       You are required to file an objection ("Objection") if any, to the Application with the
Clerk of the United States Bankruptcy Court for the District of Delaware, 824 Market Street, 3 rd
Floor, Wilmington, Delaware 19801 on or before October 19, 2012 at 4:00 p.m. (Eastern
Time) (the "Objection Deadline").

       At the same time, you must serve such Objection on undersigned counsel so as to be
received by the Objection Deadline.

     A HEARING ON THE APPLICATION, IF NECESSARY, WILL BE HELD AT THE
CONVENIENCE OF THE COURT AND NOTICE OF ANY SUCH HEARING WILL BE
GIVEN ONLY TO THE OBJECTING PARTY OR PARTIES.




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       The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s tax identification number, are: Nortel
       Networks Inc. (6332), Nortel Networks Capital Corporation (9620), Nortel Altsystems Inc. (9769), Nortel Altsystems
       International Inc. (5596), Xros, Inc. (4181), Sonoma Systems (2073), Qtera Corporation (0251), CoreTek, Inc. (5722),
       Nortel Networks Applications Management Solutions Inc. (2846), Nortel Networks Optical Components Inc. (3545), Nortel
       Networks HPOCS Inc. (3546), Architel Systems (U.S.) Corporation (3826), Nortel Networks International Inc. (0358),
       Northern Telecom International Inc. (6286), Nortel Networks Cable Solutions Inc. (0567) and Nortel Networks (CALA) Inc.
       (4226). Addresses for the Debtors can be found in the Debtors’ petitions, which are available at http://dm.epiq11.com/nortel.



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     IF YOU FAIL TO RESPOND IN ACCORDANCE WITH THIS NOTICE, THE COURT
MAY GRANT THE RELIEF REQUESTED IN THE APPLICATION WITHOUT FURTHER
NOTICE OR HEARING.


Dated: September 27, 2012             MCCARTER & ENGLISH, LLP
      Wilmington, DE
                                      /s/ William F. Taylor, Jr.______________
                                      William F. Taylor, Jr. (DE Bar I.D. #2936)
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                                      -and-

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                                      Neil Berger, Esquire
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                                      neilberger@teamtogut.com

                                      Counsel to the Official Committee of Retirees




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